                   GOL L.L.C.
                   P.O. Box 309 | 4535 Highway 308
                   Raceland, Louisiana 70394
                   Phone: (985) 532-1060 | Fax: (985) 532-0544
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             M/V DUSTIN DANOS | 150’ MINI SUPPLY
MAIN PARTICULARS                                                 MACHINERY

BEAM




CONSTRUCTION


                                                                 ELECTRONICS
PERFORMANCE
                                                                 GPS




DECK CARGO
                                                                 SPECIAL EQUIPMENT / FEATURES


CAPACITIES
                                             3

                                             3




TRANSFER / DISCHARGE RATES                                       DOCUMENTATION - CERTIFICATION

                                                                                     June 2000

ACCOMMODATIONS
                                                                 FLAG

MESS
                     1
                     5




                                                                                                 EXHIBIT

                                                                                                       10



GOL, LLC is proud to provide a diverse fleet of vessels to the maritime industry since being established in
        May of 2016 through the partnership of Rec Chaddock, Joel Broussard, and Todd Danos.


                                                                                                  February 10, 2020 10:04 AM   |1|
